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                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW MEXICO

                  Before the Honorable Gregory B. Wormuth
                       United States Magistrate Judge

                                    Clerk’s Minutes

                               CIV 13‐1156 GBW/KBM

                       Perez v. St. James Tearoom, Inc., et al.

                             Date of Hearing:     10/9/2014
                                     (not recorded)

Attorney(s) for Plaintiff:                Michael H. Hoses

Attorney(s) for Defendants:               Shari L Cordova

Proceedings:                              Telephonic Status Conference

         Start Time:                      2:00 p.m.
         Stop Time:                       2:03 p.m.
         Total Time:                      3 minutes

Clerk:                                    JGM

Notes:

            The Court made introductions.
            The Court stated that it wished to discuss the parties’ proposed Consent
             Judgment. The Court explained that the document’s provision that the
             Court would “retain jurisdiction” to enforce the settlement would enable the
             Court to retain jurisdiction even if the claims were dismissed.
            The Court inquired whether the parties intended for the claims to be
             dismissed.
            Plaintiff stated, and Defendants agreed, that the claims were resolved by the
             consent judgment and would thus close the case.
            The Court confirmed that it would enter the Consent Judgment.
            The Court concluded the proceedings.
